Case 9:16-cv-81871-KAM Document 492-13 Entered on FLSD Docket 08/03/2019 Page 1 of 4

Composite
Exhibit
G ‘T° 9
Case 9:16-cv-81871-KAM Document 492-13 Entered on FLSD Docket 08/03/2019 Page 2 of 4
8/3/2019 XE: USD / TRY Currency Chart. US Dollar to Turkish Lira Rates

World's
Trusted
Currency

Authority
For more information, visit www.xe.com

XE Currency Charts: USD to TRY

US Dollar to Turkish Lira Chart

This USD/TRY Chart lets you see this pair's currency rate history for up to 10 years! XE uses highly accurate, live mid-
market rates.

XE Money Transfer

e Fee free
e Great exchange rates
e Safe and secure

seu Now

Transfer Money
USD to TRY Chart

4 Aug 2014 00:00 UTC - 3 Aug 2019 17:36 UTC USD/TRY close:5.55973 low:2.13037 high:6.95550

, 12h
ih,

 

 

 

 

 

6 BY "
| an
4 Li a
j \ hot
| PN N 1W
5
ef
4 ad 1Y
Ki rth A ahaha
ra 2Y
3 By os & =
po tn Somgag SY
me 10Y
2015 2016
[
Send Money Online with XE > Get a currency data API >
Bank wire international money transfers online. Need commercial grade rates for your

business? The XE Currency Data API easil
e Works with your bank account ? ¥

e Competitive rates
https:/Awww.xe.com/currencycharts/?from=USD&to=TRY&view=5Y 43
Case 9:16-cv-81871-KAM Document 492-13 Entered on FLSD Docket 08/03/2019 Page 3 of 4
8/3/2019 XE: USD / IRR Currency Chart. US Dollar to Iranian Rial Rates

World's
Trusted
Currency

Hof the dty-ency Charts > USD/IR= Chart

 

XE Currency Charts: USD to IRR

For more information, visit www.xe.com

US Dollar to Iranian Rial Chart

This USD/IRR Chart lets you see this pair's currency rate history for up to 10 years! XE uses highly accurate, live mid-
market rates.

XE Currency App

e Live rates
2 65 million downloads
e Easy and free

Download Now

USD to IRR Chart

4 Aug 2014 00:00 UTC - 3 Aug 2019 17:37 UTC USD/IRR close:42025.31859 low:26303.00000 high:44134,78757

 

 

 

 

 

12h
|
| 45,000
1D
| f
40,000 oe
1M
(35,000 wt : 1Y
| eves 2v
| 30,000 adh ih Deke oe atl we SY
ee 7 10Y
25,000 aaplecmnsas oe a a ————
2015 2016 2017 2018 2019
Send Money Online with XE > Get a currency data API >
Bank wire international money transfers online. Need commercial grade rates for your

business? The XE Currency Data API easily

e® Works with your bank account
The° Competitive rates

https:/Awww.xe.com/currencycharts/? from=USD&to=IRR&view=5Y 173
Case 9:16-cv-81871-KAM Document 492-13 Entered on FLSD Docket 08/03/2019 Page 4 of 4
8/3/2019 XE: USD / CNY Currency Chart. US Dollar to Chinese Yuan Renminbi Rates

World's
Trusted
Currency

HoAl the dency Charts >= USD/CNy Ch

 

XE Currency Charts: USD to CNY

US Dollar to Chinese Yuan Renminbi Chart

This USD/CNY Chart lets you see this pair's currency rate history for up to 10 years! XE uses highly accurate, live mid-

market rates.

Ria Money Transfer
e Budget friendly

e Hassle-free

e Safe & Secure

Senc Money Now
USD to CNY'Chart”

4 Aug 2014 00:00 UTC - 3 Aug 2019 17:38 UTC USD/CNY close:6.93816 low:6.10370 high:6.97382

6.85

f
| 4 hl =
(6.65 Tuy

| Fe
6.45 A Il

 

12h
f f TE
y v4 j 25S 4
\ fa) 1W
1M
!
\ AY
|

| ah. if 2Y

For more information, visit www.xe.com

 

 

 

 

2017——(:—“‘itOBH TG

 

 

Need a cash payout option? With

| .
| Rua
|

|

| cash payout to over 100
~The pay

Get a currency data API >

Need commercial grade rates for your
business? The XE Currency Data API easily

hitps://www.xe.com/currencycharts/?from=USD&to=CNY &view=5Y

12
